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                                                         Chief Judge Ricardo S. Martinez




                      UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF WASHINGTON
                                  AT SEATTLE


     UNITED STATES OF AMERICA,                       NO. CR18-159RSM
                        Plaintiff,
                                                     ORDER

                 v.
     ANDRII KOLPAKOV,
                        Defendant.


        THE COURT has considered the stipulated motion to proceed with guilty plea
hearing by video or telephonic hearing, along with all the records and files in this case
and the General Orders currently in effect.
        THE COURT FINDS that the circumstances are as set forth in the parties’ motion,
and that a video or telephonic guilty plea hearing may take place as soon as practical
because further delays in this case would cause “serious harm to the interests of justice,”
see General Order No. 04-20 (3/30/20), for the reasons set forth in the parties’ stipulation.
Accordingly,
        THE COURT ORDERS that the parties may proceed with a plea hearing by
telephone and/or video conference, consistent with current procedures established by this
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 ORDER AUTHORIZING IN-PERSON APPEARANCE AND CONSENT TO
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Court, and directs the parties to consult with one another and the Court to schedule such a
hearing at a mutually acceptable date and time.


       DONE this 9th day of November, 2020.




                                          A
                                          RICARDO S. MARTINEZ
                                          CHIEF UNITED STATES DISTRICT JUDGE




Presented by:

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 ORDER AUTHORIZING IN-PERSON APPEARANCE AND CONSENT TO
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